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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 Center for Biological Diversity, et a/.,

        Plaintiffs,

        V.                                         Case No. 2:17-gv-372

 U.S. Forest Service, ef a/..                      Judge Michael H. Watson

        Defendants.                                Magistrate Judge Jolson

                                            ORDER

        The parties jointly move to amend the case schedule deadline and also seek

 leave to extend the page limits. EOF No. 81. The parties' motion Is GRANTED. The

 Case Management Plan is modified as follows:

    •   Plaintiffs shall file their summary judgment motion on or before December 17,

        2018;

    •   Federal Defendants shall file their cross-motion for summary judgment/opposition

        to Plaintiffs' motion for summary judgment on or before January 22,2019;

    •   Intervenor Defendants shall file their cross-motion for summary

        judgment/opposition to Plaintiffs' motion for summary judgment on or before

        January 29,2019;

    •   Plaintiffs shall file their reply in support of their motion for summary

        judgment/opposition to Federal Defendants' and Intervenor Defendants' cross-

        motions for summary judgment on or before February 25,2019;

    •   Federal Defendants shall file their reply In support of their cross-motion for

        summary judgment on or before March 25,2019;
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    •   Intervenor Defendants shall file their reply in support of their cross-motions for

        summary judgment on or before AprlM, 2019;

    •   Any motions to supplement the administrative records shall be filed by

        December 17, 2018. The moving party shall meet and confer with the other

        parties no later than December 10,2018, conceming the proposed supplements

        to the administrative records. The schedule for any responsive briefing on such a

        motion shall follow the same schedule for responsive briefing on Plaintiffe' motion

        for summary judgment. Defendants may seek modification of this schedule upon

        review of any motion to supplement the administrative records.

        In addition, the Parties are granted leave to file briefs in excess of the twenty-

 page limit subject to the following limitations:

    •   Plaintiffs' Opening Brief                                42 pages

    •   Federal Defendants' Cross-motlon/Oppositlon              42 pages

    •   Intervenor Defendants' Cross-motion/Opposition           35 pages (cumulatively)

    •   Plaintiffs' Reply/Opposition                             35 pages

    •   Federal Defendants' Reply                                20 pages

    •   Intervenor Defendants' Reply                             15 pages (cumulatively)


        IT IS SO ORDERED.




                                             MICHAEL H. WATSON, JUDGE
                                             UNITED STATES DISTRICT COURT




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